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             EXHIBIT 14
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 1   against a consumer class action it successfully fought to avoid than pay the arbitrator's $20.8
 2   million invoice now due. California does not allow such gamesmanship around consumers’ rights.
 3   The Court should sanction Valve as the law provides.
 4                                       NATURE OF THE ACTION
 5          1.       This action arises out of Valve’s refusal and willful failure to timely pay arbitration
 6   fees in violation of: (1) the American Arbitration Association’s (“AAA”) rules and procedures;
 7   and (2) the California Arbitration Act, Cal. Code Civ. Proc. §§ 1281.97–1281.99.
 8          2.       On October 25, 2021, the Western District of Washington granted Valve’s motion
 9   to compel arbitration in a consumer class action case arising from Valve’s unlawful enforcement
10   of a PMFN provision in violation of the Sherman Antitrust Act and stayed the case. In re Valve
11   Antitrust Litig., No. 2:21-cv-00563-JCC (W.D. Wash. Oct. 25, 2021), ECF No. 66.
12          3.       Pursuant to that order, thousands of affected Valve consumers retained counsel to
13   pursue their individual antitrust claims against Valve before AAA.
14          4.       Plaintiff Welty and over 8,000 Class Members are part of a larger group of 70,000
15   individuals (“Claimants”) that each retained Mason LLP to pursue their respective claims against
16   Valve before AAA.
17          5.       In December of 2023, 14,911 of these Claimants, including Plaintiff Welty and
18   1,699 other Class Members, filed their individual arbitration claims with AAA.
19          6.       On February 2, 2024, AAA notified counsel for Claimants that they were
20   responsible for their portion of AAA filing fees for the 14,911 cases, amounting to $1,143,325.00.
21   Claimants paid those filing fees.
22          7.       On February 22, 2024, AAA determined that these 14,911 cases, which included
23   Plaintiff Welty and 1,699 other Class Members’ cases, met the AAA’s administrative filing
24   requirements.
25          8.       Thus, AAA notified Valve at this time that it was responsible for payment of initial
26   filing fees for these 14,911 cases, amounting to $1,866,100.00. Valve paid those filing fees.
27          9.       AAA also notified counsel for Claimants that they were responsible for an
28   administrative fee amounting to $1,143,325.00. Claimants paid those filing fees.


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 1           10.     On March 24, 2025, AAA sent Valve an invoice of $20,875,400 for additional case
 2   management arbitration fees relating to the 14,911 arbitration claims. Of this invoiced amount,
 3   $2,378,600.00 was attributed to the 1,699 arbitrations filed by California Claimants, including
 4   Plaintiff Welty. These AAA fees were due upon receipt.
 5           11.     As of the date of this filing, Valve has refused and continues to refuse to pay the
 6   March 24, 2025, AAA invoice for these claims, which are more than 30 days overdue.
 7           12.     Valve’s refusal to pay its share of the arbitration fees is willful and intended to
 8   thwart Plaintiff and the Class Members from proceeding in arbitration.
 9           13.     California has established a fundamental policy to protect its consumer-citizens
10   from gamesmanship like Valve’s—especially in cases, like here, where a company refuses to pay
11   arbitration fees to derail arbitration.
12           14.     Therefore, Plaintiff, on behalf of herself and the members of the Class, brings this
13   action pursuant to Cal. Code Civ. Proc. §§ 1281.97–1281.99 of the California Arbitration Act,
14   seeking sanctions, including but not limited to entry of default against Valve for its refusal to
15   participate in the pending arbitration, attorney’s fees and costs, and for all other available relief
16   this Court deems appropriate.
17                                                THE PARTIES
18           15.     Defendant Valve Corporation is a Washington corporation with a principal place
19   of business at 10400 NE 4th St., Bellevue, Washington, 98004-5174. Valve is a video game
20   developer-turned-merchant that operates Steam, an online digital gaming platform. Steam
21   overwhelmingly dominates the online PC video game sales market throughout the United States
22   and including California.
23           16.     Plaintiff Pamela Welty is a California citizen who resides in Tuolumne County,
24   California. On or about July 21, 2023, Plaintiff Welty provided Valve with notice of her consumer
25   antitrust arbitration claim against Valve. On December 5, 2023, Plaintiff Welty filed her antitrust
26   arbitration claim against Valve with AAA and paid the arbitration filing fee.
27
28


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 1                                        JURISDICTION AND VENUE
 2           17.     This Court has subject matter jurisdiction over the claims asserted herein pursuant
 3   to the California Constitution, Article IV Section 10.
 4           18.     This Court has specific personal jurisdiction over Valve as it relates to this
 5   controversy. Valve is authorized to conduct, and does conduct, substantial business in California
 6   by selling online PC games to California consumers, including Plaintiff and the Class. Valve
 7   purposely availed itself of the benefits of doing business in California by selling Steam games to
 8   California consumers. This controversy arises out of Valve’s refusal to pay arbitration fees in
 9   violation of California law relating to individual arbitrations initiated against Valve by a Class of
10   California consumers. Asserting personal jurisdiction in this case would therefore comport with
11   fair play and substantial justice.
12           19.     Venue is proper in this Court under California Code of Civil Procedure Sec. 395.
13                               COMMON FACTUAL ALLEGATIONS
14       Valve Successfully Moved a Federal Court to Compel Arbitration and to Stay a Consumer
15       Antitrust Class Action Against Valve in Favor of Arbitration
16           20.     On January 28, 2021, Sean Colvin and four other online PC game purchasers filed
17   a consumer class action case against Valve Corporation and others in the U.S. District Court for
18   the Western District of Washington, Case No. 21-cv-00650 (W.D. Wash.), alleging that the
19   consumer plaintiff and the putative consumer class were forced to pay supracompetitive prices for
20   their online PC game purchases in the U.S. because of Valve’s unlawful use and enforcement of
21   an anticompetitive PMFN policy, which prevented game developers from selling their games on
22   rival platforms for less than they sold their games on Valve’s Steam Platform, thus stifling
23   competition and inflating prices (the “Colvin” Class Action).
24           21.     On April 27, 2021, game developer Wolfire Games LLC, along with two individual
25   game consumers, William Herbert and Daniel Escobar, filed a similar class action antitrust case
26   against Valve, Case No. 21-cv-00563, in the same court (the “Wolfire” Class Action).
27
28


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 1              22.     On May 2, 2021, the Colvin and Wolfire Class Actions were transferred and
 2   consolidated for all purposes into the Wolfire case pending in the Western District of Washington.
 3   Those plaintiffs subsequently filed a consolidated amended complaint (“CAC”) on June 11, 2021.
 4              23.     On June 23, 2021, Valve moved to compel the consumer plaintiffs in the
 5   consolidated Wolfire case to arbitration and to stay both the consumer case and the developer case
 6   pending resolution of the claims in arbitration.
 7              24.     On October 25, 2021, the court granted Valve’s motion to compel arbitration and
 8   stayed the consumer plaintiffs’ federal class action case pending arbitration but denied Valve’s
 9   request to stay the game developers’ lawsuit.1
10         Plaintiff Initiates Arbitration
11              25.     On July 21, 2023, and consistent with Valve’s terms of service, which required
12   notice to be provided prior to filing demands for arbitration, Plaintiff’s counsel wrote to Valve on
13   behalf of the 70,000 Claimants to inform Valve of the basis of their respective antitrust claims
14   against Valve and their intent to pursue individual arbitrations if the parties were unable to resolve
15   the claims through good-faith negotiation. Plaintiff’s counsel provided a spreadsheet attached to
16   the letter identifying each Claimant’s name, their Steam ID (an account number), and their Steam
17   username.
18              26.     After months spent attempting to informally resolve all 70,000 Claimants’ claims
19   with Valve, Plaintiff’s counsel began filing demands for arbitration on a rolling basis. Plaintiff’s
20   counsel filed 14,911 consumer demands for arbitration before AAA between December 5, 2023
21   and December 20, 2023, and another 5,000 on April 24, 2024, for a total of 19,911 claims (the
22   “Filed Claimants”).
23              27.     Of the 19,911 Filed Claimants, 2,293 reside in California. The California residents
24   each informed AAA and Valve that they selected California as their AAA arbitration location.
25              28.     AAA confirmed receipt of the Filed Claimants’ claims and submitted invoices for
26   AAA filing fees of $1,423,325.00 and $375,000 to the Claimants.
27              29.     Claimants’ counsel promptly paid the Filed Claimants’ initial filing fees.
28
     1
         See In re Valve Antitrust Litigation, Case No. 2021-cv-00563 (W.D. Wash.) at ECF 66.

                                                               5
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 1          30.       On February 22, 2024, AAA sent an email to the parties informing Valve that “[a]t
 2   this time, Valve Corporation is now responsible for payment of the initial filing fees for these
 3   14,911 cases totaling $1,866,100.00” and further informing Valve that “[a]s one or more of these
 4   arbitrations is subject to California Code of Civil Procedure sections 1281.97 and 1281.98,
 5   payment from the Business must be paid by 30 days from the date of this letter or AAA may close
 6   these cases.” See Ex. A, AAA email, dated February 22, 2024; see also Ex. B, Claimants’ Invoice,
 7   dated February 22, 2024.
 8          31.       Valve paid its initial AAA arbitration fees in accordance with AAA’s invoice.
 9          32.       Valve did not object to AAA’s application of California law to the arbitration
10   proceedings at that time.
11          33.       Valve conceded the applicability of Cal. Code Civ. Proc. §§ 1281.97–1281.99 by
12   its course of performance when it proceeded under the terms of this initial invoice—incorporating
13   the California Arbitration Act—without objection.2
14          34.       On May 14, 2024, AAA informed the parties that it would not appoint a process
15   arbitrator for the 14,911 cases. And so, on July 14, 2024, AAA held an administrative conference
16   to allow the parties to further review the options for appointing merits arbitrators for the initial
17   14,911 claims.
18          35.       Under AAA rules applicable to these cases, the next step would have been for AAA
19   to invoice Valve an administrative fee of $1,400 per Claimant, or $20,875,000 in total.
20       Valve Refuses to Pay the AAA Invoice
21          36.       On August 8, 2024, counsel for Valve informed Plaintiff’s counsel that it had
22   engaged “additional counsel,” who would become Plaintiff’s new point of contact and requested
23   a two-week extension to respond to any AAA deadlines.
24          37.       Shortly thereafter, in August 2024, counsel for Valve proposed that the parties go
25   to outside mediation. Counsel for Plaintiff agreed.
26
27
     2
28     But as alleged in further detail below, Valve subsequently refused to pay over $20 million in
     additional case management arbitration fees invoiced by AAA for these same 14,911 cases, in
     violation of California law.
                                                      6
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 1           38.    On August 20, 2024, the parties informed AAA that they had agreed to pause the
 2   arbitrations pending the parties’ completion of an outside mediation before Robert A. Meyer of
 3   JAMS, scheduled to take place January 14, 2025.
 4           39.    On August 21, 2024, AAA placed the arbitrations on an administrative hold,
 5   pending the conclusions of the parties’ outside mediation.
 6           40.    The parties proceeded to JAMS mediation on February 4, 2025, which resulted in
 7   an impasse.
 8           41.    On February 5, 2025, Plaintiff’s counsel notified AAA that the mediation resulted
 9   in impasse and thus requested AAA to lift the administrative hold, which AAA did on February 6,
10   2025.
11           42.    On March 24, 2025, AAA issued its invoice for case management fees to Valve for
12   the initial 14,911 claims, totaling $20,875,400.00, due upon receipt. See Ex. C, AAA email, dated
13   March 24, 2025; See also, Ex. D, Valve Invoice, dated March 24, 2025.
14           43.    AAA also explained that because “AAA has determined that the filing requirements
15   for these cases have been met [by Claimants], any requests [by Valve] to close these matters are
16   properly directed to arbitrators [once they are assigned].” See Ex. C.
17           44.    Along with its March 24, 2025, email, AAA also provided the parties with a
18   spreadsheet indicating, inter alia, that 1,699 of the 14,911 arbitration cases invoiced to Valve were
19   filed by California citizens who had chosen California as the locale for their arbitrations. After
20   referring the parties to the tab in a spreadsheet breaking out the California cases, AAA restated (as
21   it previously had done in its February 22, 2024 email) that because this invoice included California
22   cases, the invoice was subject to Cal. Code Civ. Proc. § 1281.98.
23           45.    More specifically, AAA wrote:
24           As some of these arbitrations are subject to California Code of Civil Procedure
             (“CCCP”) Section 1281.98, we are providing the attached invoice in accordance
25           with that statute. Payment is due upon receipt and must be paid by 30 days from
26           the Due Date provided on the attached invoice or the AAA will close the parties’
             case. If the payment deadline falls on a weekend or holiday, payment must be paid
27           by the following business day under CCCP Section 12a. Pursuant to CCCP Section
             1281.98, the AAA cannot extend this payment deadline.
28


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 1          46.        But this time, Valve refused to pay the invoice, preventing the arbitrations from
 2   proceeding.
 3          47.        As of the date of this Complaint, it has been more than 30 days past when payment
 4   by Valve was due and Valve has failed to timely pay any of the arbitration fees invoiced by AAA
 5   on March 24, 2025, and refused to pay any further AAA arbitration fees, all in violation of
 6   California law.
 7          48.        Thus, Plaintiff on behalf of herself, and all members of the Class, now comes before
 8   the Court seeking all available relief under Cal. Code Civ. Proc. §§ 1281.97–1281.99 including
 9   but not limited to entry of default judgment and for all other available relief as set forth herein and
10   which this Court deems fair and just.
11                                    CLASS ACTION ALLEGATIONS
12          49.        Plaintiff brings this action on behalf of herself and on behalf of all other persons
13   similarly situated pursuant to California Procedure § 382 and California Civil Code § 1781.
14          50.        Plaintiff proposes the following Class definition, subject to amendment as
15   appropriate:
16          All residents of California who initiated individual consumer arbitration claims
            against Valve by providing notice of their claims prior to September 26, 2024,
17
            relating to Valve’s violations of the Sherman Antitrust Act.
18          Excluded from the Class are Defendant’s officers and directors, and any entity in
19          which Defendant has a controlling interest; and the affiliates, legal representatives,
            attorneys, successors, heirs, and assigns of Defendant and any current or former
20          employees of Defendant.
21          51.        Plaintiff hereby reserves the right to amend or modify the class definition with
22   greater specificity or division after having had an opportunity to conduct discovery.
23          52.        Numerosity. The Members of the Class are so numerous that joinder of all of them
24   is impracticable. There are believed to be no less than 8,500 Class Members.
25          53.        Commonality. There are questions of law and fact common to the Class, which
26   predominate over any questions affecting only individual Class Members. These common
27   questions of law and fact include, without limitation:
28


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 1           a.   Whether Valve’s failure to pay arbitration fees invoiced by AAA relating to
 2                Class Members’ arbitrations is a violation of Cal. Code Civ. Proc.
 3                §§ 1281.97(a)(1) and 1281.98(a)(1);
 4           b.   Whether Valve’s refusal to pay arbitration fees invoiced by AAA relating to
 5                Class Members’ arbitrations is a violation of Cal. Code Civ. Proc.
 6                §§ 1281.97(a)(1) and 1281.98(a)(1);
 7           c.   Whether the claims at issue here are based on unwaivable rights created by
 8                California statute;
 9           d.   Whether Valve conceded through its course of conduct or otherwise that
10                Cal. Code of Civ. Proc. §§ 1281.97, 1281.98 and 1281.99 apply to Valve’s
11                payment of or non-payment of AAA invoices;
12           e.   Whether Valve waived any argument that Cal. Code Civ. Proc. §§ 1281.97,
13                1281.98 and 1281.99 do not apply Plaintiff’s and the Class Members’
14                arbitration claims;
15           f.   Whether Plaintiff and Class Members are entitled to a Court order compelling
16                Valve to proceed in arbitration and granting reasonable attorney’s fees and
17                costs related to the arbitrations and bringing this action (§§ 1281.97(b)(2) and
18                1281.98(b)(2));
19           g.   Whether Plaintiff and Class Members are entitled to a Court order compelling
20                Valve to pay all arbitration fees that Valve is obligated to pay under the AAA
21                rules (§ 1281.98(b)(3));
22           h.   Whether Valve should face monetary sanctions by the Court, including
23                reasonable expenses, including attorney’s fees and costs incurred by Valve’s
24                willful failure to pay its arbitration fees invoiced by AAA (§ 1281.99(a)); and
25           i.   Whether Valve should be sanctioned with entry of default judgments in the
26                underlying cases for Valve’s failure to pay its arbitration fees invoiced by
27                AAA (§ 1281.99(b)(2)(B)).
28


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 1           54.     Typicality. Plaintiff’s claims are typical of other Class Members’ because Plaintiff
 2   initiated arbitrations and Valve has refused to pay arbitration fees relating to those arbitrations.
 3           55.     Adequacy of Representation. Plaintiff will fairly and adequately represent and
 4   protect the interests of the Class Members. Plaintiff’s Counsel is competent and experienced in
 5   litigating class actions.
 6           56.     Predominance. Valve has engaged in a common course of conduct toward Plaintiff
 7   and Class Members by categorically refusing to pay AAA arbitration fees invoiced to Valve. The
 8   common issues arising from Defendant’s conduct affecting Class Members set out above
 9   predominate over any individualized issues. Adjudication of these common issues in a single
10   action has important and desirable advantages of judicial economy.
11           57.     Superiority. A class action is superior to other available methods for the fair and
12   efficient adjudication of this controversy regarding Valve’s refusal to pay its arbitration fees. The
13   prosecution of separate actions by individual Class Members would create a risk of inconsistent or
14   varying adjudications with respect to individual Class Members, which would establish
15   incompatible standards of conduct for Defendant. In contrast, the conduct of this action as a class
16   action presents far fewer management difficulties, conserves judicial resources and the parties’
17   resources, and protects the rights of each Class Member.
18           58.     Defendant has acted on grounds that apply generally to the Class as a whole so that
19   class certification, injunctive relief, and any corresponding declaratory relief are appropriate on a
20   class-wide basis.
21           59.     Finally, all Class Members are readily ascertainable. Plaintiff and Class Members
22   have sent Valve written notice of their claims and/or a demand for arbitration.
23
                                               COUNT ONE
24                           Violation of the California Arbitration Act (“CAA”)
25                                (Cal. Code Civ. Proc. §§ 1281.87, et seq.)

26           Plaintiff re-alleges and incorporate the above allegations as if fully set forth herein.
27           60.     Plaintiff and the Class duly initiated arbitration with Valve before the AAA and
28   paid all AAA required fees invoiced to Claimants.


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                                          CLASS ACTION COMPLAINT
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 1            61.    Plaintiff and the Class each designated California as the location for their AAA
 2   arbitrations.
 3            62.    Valve has failed to timely pay, and refuses to pay, AAA arbitration fees invoiced
 4   to Valve relating to the arbitrations initiated by Plaintiff and the Class.
 5            63.    On March 24, 2025, AAA issued an invoice to Valve for fees totaling
 6   $20,875,400.00, due upon receipt. See Ex. D. These fees are overdue and remain unpaid by Valve.
 7            64.    AAA applies California law to arbitrations brought by California residents where
 8   “one or more of these arbitrations is subject to California Code of Civil Procedure sections
 9   [1281.97 or] 1281.98, payment from the Business must be paid by 30 days from the date of this
10   letter or AAA may close these cases.”
11            65.    The Court should order Valve to pay all arbitration fees invoiced by AAA in
12   connection with the arbitration claims of any Class Member.
13            66.    The Court should order Valve to pay all invoiced arbitration fees when due for all
14   claims by Class Members.
15            67.    In the alternative, the Court should find Valve in default on all claims of Class
16   Members in arbitration. Cal. Code Civ. Proc. § 1281.99(b)(2)(B).
17            68.    Plaintiff and Class Members are entitled to reasonable attorney’s fees and costs
18   related to the arbitration. Cal. Code Civ. Proc. § 1281.97(b)(2).
19                                        PRAYER FOR RELIEF
20   WHEREFORE, Plaintiff prays for judgment as follows:
21       a)    For an order certifying this action as a class action and appointing Plaintiff and her
22             counsel to represent the Class;
23       b)    For an order rendering a default judgment against Valve on behalf of all Class Members;
24       c)    In the alternative, for an order compelling Valve to proceed to arbitration and to pay all
25             overdue invoices and all future invoices when due;
26       d)    For an award of reasonable expenses, including attorney’s fees and costs, incurred by
27             Plaintiff and other Class Members because of Valve’s refusal to pay AAA fees; and
28       e)    Such other and further relief as the Court may deem just and proper.


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                                          CLASS ACTION COMPLAINT
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 1   Dated: May 2, 2025.
 2
 3   Respectfully submitted,
 4                                      /s/ Danielle L. Perry
                                        MASON LLP
 5
                                        Danielle L. Perry (SBN 292120)
 6                                      Reuben A. Aguirre (SBN 319699)
                                        5335 Wisconsin Avenue, NW, Suite 640
 7                                      Washington, D.C. 20015
                                        Telephone: 202-429-2290
 8
                                        Email: dperry@masonllp.com
 9                                      Email: raguirre@masonllp.com
10                                      Counsel for Plaintiff and the Proposed Class
11
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                    EXHIBIT A
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                                                                                                             Neil Currie
                                                                                                         Vice President
                                                                                                   2355 Highway 36 W.
                                                                                                               Suite 400
                                                                                                   Roseville, MN 55113
                                                                                              Telephone: (612)332-6545
                                                                                                    Fax: (612)342-2334


February 2, 2024

Gary E. Mason, Esq.
Mason, LLP
5335 Wisconsin Avenue NorthWest
Suite 640
Washington, DC 20016
Via Email to: gmason@masonllp.com

Case Number: 01-23-0005-8758

Individual Claimants
-vs-
Valve Corporation

Counsel,

This confirms the American Arbitration Association’s (“AAA”) receipt of 14,911 individual demands for
arbitrations alleging claims against Respondent, Valve Corporation filed on December 5, 2023, December 14,
2023, and December 20, 2023.

Upon review of the documents submitted in the above-referenced matters, the AAA has determined that these
disputes will be administered in accordance with the AAA’s Mass Arbitration Supplementary Rules in
conjunction with the Consumer Arbitration Rules. Unless the contracts submitted with these filings provide that
the individuals pay less, a non-refundable filing fee in the amount of $125.00 per case is payable in full by the
individual Claimant in each of the first 500 cases in a mass arbitration filing, and $75.00 per case in all
subsequent cases above and beyond 500 in a mass arbitration filing, under this fee schedule. Claimants’ portion
of the initial filing fees for these 14,911 cases is $1,143,325.00 as indicated on the attached invoice.
Accordingly, we request that Claimants submit payment in the total amount of $1,143,325.00 for their portion of
filing fees on or before March 4, 2024.

Claimants’ aggregate invoice is attached here. Please note that while the AAA accepts payment via check, we
are also able to provide a secure AAA Paylink for Claimant counsel’s convenient online payment via credit card
immediately upon request. Please note a credit card surcharge will apply to payments remitted by credit card.
Electronic payment instructions for direct wire transfers and/or ACH payments have also been enclosed for
counsel’s convenience.

If you have any questions, please email the undersigned and we will be happy to assist you.

Sincerely,
/s/
Rachel Jacobsen on behalf of
Victoria Chandler
Director of ADR Operations
Direct Dial: (612)278-5124
       Case 2:21-cv-00563-JNW     Document 471-14   Filed 06/26/25   Page 17 of 24


Email: VictoriaChandler@adr.org
Fax: (612)342-2334

Enclosures

cc:   Douglas Matthews
      Timothy B. McGranor
      Theodore B. Bell
      Kenneth J. Rubin, Esq.
      Kara M. Mundy, Esq.
      Danielle L. Perry, Esq.
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                    EXHIBIT B
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                                                                                                Statement Date           Amount Due
                                                            13727 Noel Road Suite 1025
                                                            Dallas TX 75240                       02-02-2024            $1,143,325.00
                                                                                                          01-23-0005-8758
                                                                                               14,911 Individuals v. Valve Corporation




                                                             Invoice
 Gary E. Mason, Esq.
 Mason, LLP
 5335 Wisconsin Avenue NorthWest
 Suite 640
 Washington, DC 20016
 Via Email to: gmason@masonllp.com


 Date         Reference Number                   Description                             Balance          Due Date


  2/2/2024         02 (01-23-0005-8758)                 Claimant Filing Fees             $1,143,325.00     March 4, 2024
                                                     (500 cases X $125.00/case)
                                                    (14,411 cases X $75.00/case)


                                                          Payment Options
Wire Transfer / ACH / EFT

As information transmitted by the bank is often truncated due to limited space, please email your reference information (Case Number
Individuals v. Business) with the date and amount of your wire, to ensure that your payment is credited promptly and correctly to
corpfinance@adr.org and LMEEFinance@adr.org.

         Name of Bank: Wells Fargo Bank
         Address: 150 East 42nd Street, 24th FL., New York, NY 10017, USA
         Account Name: AAA/American Arbitration Association
         Account Number: 2000017952068
         ABA/Transit Number: 121000248

Reference:
        Swift Code/BIC: WFBIUS6S

         Note: Please take steps to ensure that your bank does in fact wire the entire amount to our account. From time to time, certain
         banks will keep a portion of the wire transfer for their own service fee, leaving a balance due to the AAA/ICDR.

Paying by Check
Checks should be made payable to the American Arbitration Association and include the reference number noted above. Please return
this page with your payment to:

American Arbitration Association
Attn: Finance Director
13727 Noel Road
Suite 1025
Dallas, TX 75240

Corporate Address and Tax ID: American Arbitration Association, 120 Broadway, 21st Floor, New York, NY 10271, EIN # XX-XXXXXXX
Case 2:21-cv-00563-JNW   Document 471-14   Filed 06/26/25   Page 20 of 24




                    EXHIBIT C
           Case 2:21-cv-00563-JNW                       Document 471-14                   Filed 06/26/25               Page 21 of 24


                                                                                          Thursday, May 1, 2025 at 2:34:05 PM Eastern Daylight Time

Subject:      Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
Date:         Monday, March 24, 2025 at 4:17:02 PM Eastern Daylight Time
From:         AAA Cheryl Florio
To:           Gary Mason, Theo Bell, Danielle Perry, Mari Gribble, McInerney, Colm P, McTigue Jr., Michael W, Slawe, Meredith C,
              AAAFiling@valvesoftware.com, Jacob Eisenberg
CC:          AAA Cheryl Florio
Attachments: image656235.png, image442771.png, 2025 03 24 AAA Request for Case Management Fees Valve 14,911 ﬁled by Mason LLP.xlsx, Invoice -
             2025-03-24 - Individual Claimants v Valve Corporation.pdf


Dear Counsel,

This will confirm an Administrative Conference was held on March 20, 2025. Gary Mason and Theodore Bell were present
for the Individual Claimants, Michael McTigue and Colm McInerney were present for Respondent Valve Corporation.

We understand Respondents have requested AAA to close these cases, and that Claimants have opposed that request.
Inasmuch as AAA has determined the filing requirements for these cases have been met, any requests to close these matters
are properly directed to arbitrators.

Regarding the 14,911 cases listed on the attached spreadsheet, at this time we are requesting Respondent’s AAA Case
Management Fees totaling $20,875,400.00 (or $1,400 per case). Respondent’s invoice is attached here. Please refer to the
attached spreadsheet for the individual cases and corresponding locale states.

        As some of these arbitrations are subject to California Code of Civil Procedure (“CCCP”) Section 1281.98, we are
        providing the attached invoice in accordance with that statute. Payment is due upon receipt and must be paid by 30
        days from the Due Date provided on the attached invoice or the AAA will close the parties’ case. If the payment
        deadline falls on a weekend or holiday, payment must be paid by the following business day under CCCP Section
        12a. Pursuant to CCCP Section 1281.98, the AAA cannot extend this payment deadline.

As discussed during the call with regards to the remaining 5,000 cases, Claimants will submit a statement of issues to be
raised to a Process Arbitrator on or before March 28, 2025 and Respondent will submit a response on or before April 4,
2025.

Sincerely,




           AAA Cheryl Florio
           Director of ADR Operations
           American Arbitration Association
           T: 401 431 4779 F: 866 644 0234 E: CherylFlorio@adr.org
           16 Market Square 1400 16th Street, Suite 400, Denver, CO 80202
           adr.org | icdr.org | aaaicdrfoundation.org

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email and destroy all copies of the transmittal. Thank you.




                                                                                                                                                      1 of 1
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                    EXHIBIT D
         Case 2:21-cv-00563-JNW                     Document 471-14                 Filed 06/26/25               Page 23 of 24
                                                                                                                       Invoice Date
                                                                                                                       24-Mar-2025
                                                                                                                     Invoice Balance
                                                                                                                      $20,875,400.00
                                                                                                                          Case #
                                                                                                                  01-23-0005-8758-2-CF
                                                                                                               Case Manager: Cheryl A Florio
                                                                                                                   CherylFlorio@adr.org
                                                                                                                    Pay PIN: 12064994
                                                                                                 Unless instructed otherwise, invoice balance due upon receipt.


                                                                 Invoice
Michael W. McTigue Jr., Jr., Esq.                                      Representing: Valve Corporation
Skadden, Arps, Slate, Meagher & Form,
LLP                                                                              Re: Individual Claimants
One Manhattan West
                                                                                     Vs.
New York, NY 10001
                                                                                     Valve Corporation




 Bill Line Date      Bill Line #        Description                                                                             Due Date               Amount
 24-Mar-2025         14237774           Case Management Fees                                                                 24-Mar-2025         $20,875,400.00
                                        Net Due Amount                                                                                           $20,875,400.00




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        Case 2:21-cv-00563-JNW                     Document 471-14                 Filed 06/26/25               PageInvoice
                                                                                                                      24 of    24
                                                                                                                            Date
                                                                                                                      24-Mar-2025
                                                                                                                    Invoice Balance
                                                                                                                     $20,875,400.00
                                                                                                                         Case #
                                                                                                                 01-23-0005-8758-2-CF
                                                                                                              Case Manager: Cheryl A Florio
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